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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF MAINE

 CAROLYN NADEAU,                           )
                                           )
        Plaintiff                          )
                                           )
 v.                                        )       1:23-cv-00408-SDN
                                           )
 TOWN OF MILO,                             )
                                           )
        Defendant                          )

                            ORDER ON DISCOVERY ISSUE

        On February 19, 2025, the Court conducted a telephonic hearing with the parties on

 a discovery issue. During the conference, Defendant reported that it served interrogatories,

 a request for production of documents, and a request for admissions (collectively the

 discovery requests) on Plaintiff in November 2024. To date, Plaintiff has not responded to

 the discovery requests.

        After consideration of the relevant issues, as explained to the parties on the record,

 the Court orders:

        1. On or before February 21, 2025, Defendant shall resend the discovery requests

           to Plaintiff by express delivery.

        2. On or before March 28, 2025, Plaintiff shall serve upon Defendant responses to

           the discovery requests.

        3. The deadline for the parties to file dispositive motions is extended to April 11,

           2025.

        4. The matter shall be placed on the May 2025 trial list.
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        If Plaintiff fails to respond to the discovery requests as ordered, Defendant may file

 a motion to compel or motion for sanctions. As the Court explained to Plaintiff during the

 conference, Plaintiff’s failure to respond to the discovery requests could result in the Court

 imposing sanctions, which could include the dismissal of the case.

                                            NOTICE

        Any objections to this Order shall be filed in accordance with Federal Rule of Civil

 Procedure 72.

                                                   /s/ John C. Nivison
                                                   U.S. Magistrate Judge

 Dated this 19th day of February, 2025.




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